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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
ECOBEE, INC.,                             )
                                          )
      Plaintiff,                          )  Case No.: 1:18-cv-12236-DPW
                                          )
v.                                        )
                                          )
HATZLACHA LLC d/b/a THE CORNER            )
STORE, BITACHON LLC, BENJAMIN             )
WINKLER, and JOHN DOES 1-10               )
                                          )
      Defendants.                         )
__________________________________________)


                                NOTICE OF APPEARANCE

       Please enter the appearance of Jack S. Brodsky of K&L Gates LLP, State Street Financial

Center, One Lincoln Street, Boston, MA 02111, on behalf of Plaintiff ecobee, Inc., in the above-

captioned case.

                                                   Respectfully submitted,

                                                   Plaintiff,
                                                   ecobee, Inc.,
                                                   by its attorneys,


                                                   /s/ Jack S. Brodsky
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